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                           UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF LOUISIANA

PRESS ROBINSON, et al.,

                    Plaintiffs,                   Civil Action No. 3:22-cv-00211-SDD-SDJ

               v.                                 Chief Judge Shelly D. Dick

KYLE ARDOIN, in his official capacity as          Magistrate Judge Scott D. Johnson
Secretary of State for Louisiana,

                    Defendant.

EDWARD GALMON, SR., et al.,

                    Plaintiffs,                   Consolidated with
                                                  Civil Action No. 3:22-cv-00214-SDD-SDJ
               v.

R. KYLE ARDOIN, in his official capacity as
Secretary of State for Louisiana,

                    Defendant.

[PROPOSED] SCHEDULING ORDER FOR PRELIMINARY INJUNCTION HEARING

       The Court, upon consideration of the proposed schedules for the forthcoming October 3-5,

2023, preliminary-injunction hearing submitted by the parties in accordance with the Court’s order

of July 17, 2023 (ECF No. 250), hereby adopts the following pre-hearing schedule to govern the

preliminary-injunction hearing reset for October 3-5, 2023:

 Date                             Deadline
 Friday, August 4, 2023           Plaintiffs’ Supplemental Expert Reports/Disclosures Due
 Friday, August 18, 2023          Parties to Exchange Fact Witness Lists
 Friday, September 8, 2023        Defendants’ Supplemental Expert Reports/Disclosures Due
 Tuesday, September 12, 2023      Exchange Supplemental Fact Witness Lists
 Tuesday, September 19, 2023      Deadline for Fact and Expert Depositions
 Monday, September 25, 2023       Supplemental Memorandum in Support and Memorandum in
                                  Opposition of Proposed Remedial Plan Due
 Friday, September 29, 2023       Parties to Exchange Final Witness Lists and Copies of Exhibits
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       The parties may not submit new proposed remedial plans. The Court will consider the plan

submitted on June 22, 2022, in accordance with its Order of June 17, 2022 (ECF No. 206).

       IT IS SO ORDERED.



                                                ______________________________________
                                                UNITED STATES DISTRICT JUDGE
